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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DIANE GRIMES                                       :       CIVIL ACTION
                                                   :
                                                   :
      v.                                           :
                                                   :
IMMACULATA UNIVERSITY                              :
                                                   :       NO. 23-3357
                                                   :


                                           ORDER


       AND NOW, this 10th day of February, 2025, the court not yet having been advised

following the December 13 settlement conference whether the matter has resolved, it is

ORDERED that no later than end of business on February 21, 2025, counsel shall advise Judge

Hey’s chambers at whether the matter can be dismissed as settled.




                                                   BY THE COURT:


                                                   /s/ ELIZABETH T. HEY

                                                   ELIZABETH T. HEY
                                                   UNITED STATES MAGISTRATE JUDGE
